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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

-------------------------------------------------------------------- X

DANIEL SIMPSON,
                                                                         Docket no. 16-cv-510
                                  Plaintiff,

                          -against-
                                                                         COMPLAINT
PAM TRANSPORT CORP.; and MARIO MENESES-
                                                                         Jury trial demanded
RUIZ,

                                  Defendants.

-------------------------------------------------------------------- X


        Plaintiff, complaining of the defendants, by his attorneys, alleges for his complaint, upon

information and belief, as follows:


                                               THE PARTIES
        1.       At all times relevant to this complaint, the plaintiff, DANIEL SIMPSON

(“SIMPSON”), is a natural person, resident of the State of Pennsylvania.

        2.       Upon information and belief, at all times relevant to this complaint, the defendant

PAM TRANSPORT CORP. (“OWNER”) is a corporation organized and existing pursuant to the

laws of the State of Texas, with its principal office located in El Paso, Texas.

        3.       Upon information and belief, at all times relevant to this complaint, the defendant

MARIO MENESES-RUIZ (“DRIVER”) is a natural person who is a citizen and resident of

Juarez, Chihuahua, Mexico.
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       4.      At all times relevant to this complaint, plaintiff SIMPSON owned and operated a

motor cycle bearing Pennsylvania license plate 4700J (“VEHICLE 1”).

       5.      Upon information and belief, at all times relevant to this complaint, the defendant

OWNER owned a truck, consisting of a tractor bearing Texas license plate R232662 and a trailer

bearing Texas license plate number 070B853 (“VEHICLE 2”).

       6.      At all times relevant to this complaint, the defendant DRIVER was the operator of

VEHICLE 2.


                                       JURISDICTION
       7.      This court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, as there

is complete diversity of citizenship between the plaintiff and the defendants, and the amount in

controversy exceeds $75,000.


                                THE UNDERLYING FACTS
       8.      For purposes of this complaint, the term “ACCIDENT TIME” shall mean May

11, 2016 at approximately 5:08 p.m.

       9.      For purposes of this complaint, the term “ACCIDENT LOCATION” shall mean

the westbound side of Pennsylvania Route 84 in Pike County, Milford Township, Pennsylvania,

at approximately 4120’44.84” N X 7447’32.254” W.

       10.     Upon information and belief, at all times relevant to this complaint the

ACCIDENT LOCATION is a public roadway in the State of Pennsylvania.

       11.     Upon information and belief, at or about the ACCIDENT TIME, the defendant

DRIVER was operating VEHICLE 2 at the ACCIDENT LOCATION.




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          12.   Upon information and belief, at the ACCIDENT TIME and at the ACCIDENT

LOCATION, the defendant DRIVER caused VEHICLE 2 to strike VEHICLE 1, causing

plaintiff SIMPSON to become seriously and permanently injured.

          13.   As a result of the collision described above, the plaintiff was caused to suffer

severe and permanent personal injuries including: below knee amputation, right leg; ankle

fracture, left leg; fractured vertebrae; injury to neck, back, and legs; injury to spine; herniated

and/or bulging discs; plaintiff was rendered sick, sore, lame and disabled; future pain and

disability is anticipated; flashbacks; post-traumatic anxiety; radiating pain; plaintiff was required

to receive medical care and attention and upon information and belief will require additional

medical care and attention in the future; plaintiff was required to undergo diagnostic testing

including x-ray and/or MRI and/or CT scan; plaintiff was required to undergo physical therapy

and/or will require additional therapy in the future; plaintiff has been required to take medication

and upon information and belief may be required to take such medication in the future; plaintiff’s

ability to pursue usual duties and vocation has been impaired; plaintiff has become substantially

disabled; plaintiff has suffered severe mental anguish and distress; osteoarthritic changes are

anticipated; extreme pain and suffering; and plaintiff has been otherwise damaged; upon

information and belief, the cost to the plaintiff of life insurance and/or disability insurance has

been substantially increased; all of these injuries are permanent in nature and continuing into the

future.


                        AS AND FOR A FIRST CLAIM FOR RELIEF
          14.   Plaintiff repeats and re-alleges each of the foregoing allegations with the same

force and effect as if more fully set forth herein.




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       15.     At all times mentioned herein, plaintiff was caused to suffer severe and permanent

personal injures due to the recklessness, carelessness, and negligence, of the defendants, such

injuries being set forth in detail above.

       16.     Among other things, the defendant DRIVER was reckless, careless and negligent

in, upon information and belief: causing VEHICLE 2 to strike VEHICLE 1; failing to stay in

lane; changing lanes without warning; cutting off the plaintiff; failing to slow down sufficiently

as necessary for safe operation of vehicle; failing to drive with due regard for the safety of all

persons; recklessly disregarding the safety of others; failing to yield; driving too fast; striking

another vehicle; driving while distracted or paying attention to something else, such as a radio or

cell phone; driving too aggressively; failing to maintain control; colliding with another vehicle;

failing to use due caution; failing to see what should be seen; failing to comport his driving to the

prevailing traffic conditions; failing to maintain a proper lookout; failing to yield the right of

way; failing to obey the traffic signs and traffic control devices; violating applicable laws, rules

and regulations; failing to make proper use of mirrors, horns, brakes and other safety devices;

and the defendant DRIVER was otherwise reckless, careless and negligent.

       17.     As a result of the defendants’ recklessness, carelessness and negligence, the

plaintiff was caused to suffer severe and permanent personal injuries, such injuries being set

forth above in greater detail.

       18.     The plaintiff has suffered serious injuries as defined by the No Fault Insurance

Law of the State of Pennsylvania.

       19.     The plaintiff is not seeking in this cause of action to recover any moneys which

are or should be paid through no fault insurance.




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         20.   If any plaintiff executes a release in this action, such plaintiff does not intend to

release any claims by any insurance carrier for any moneys paid for no-fault benefits or any

claims for subrogation or any claims other than the plaintiff’s own claims for pain and suffering

and the amount of special damages exceeding those paid under no fault.

         21.   The defendant OWNER is vicariously liable to the plaintiff for the actions of the

defendant DRIVER under the law of both Pennsylvania, where the accident occurred, and Texas,

where the defendant OWNER is located.

         22.   By reason of the foregoing, the plaintiff is entitled to recover the full extent of his

damages, in an amount to be determined by the jury at trial.


                                   JURY TRIAL DEMANDED
         23.   Plaintiff demands a trial by jury of all issues triable to a jury.

         WHEREFORE, the plaintiff demands judgment against the defendants in the amounts

and for the relief requested herein, plus attorney’s fees to the extent permitted by law.

Dated:    December 15, 2016
                                               Yours,

                                               THE HARBOUR LAW FIRM, P.C.
                                               Local counsel for the plaintiff

                                               by:     /s/ Cori A. Harbour-Valdez
                                                     Cori A. Harbour-Valdez, Esq.
                                                     Texas Bar # 24004685

                                               1522 Montana Avenue, 3rd floor
                                               El Paso, Texas 79902
                                               Tel: 915-544-7600
                                               Fax: 915-975-8036
                                               charbour@harbourlaw.net

                                               -and-

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                           THE BERKMAN LAW OFFICE, LLC
                           Attorneys for the plaintiff
                           Robert J. Tolchin, Esq.
                               rtolchin@berkmanlaw.com
                           Norman Steiner, Esq.
                               nsteiner@steinerlaw.com
                           111 Livingston Street, Suite 1928
                           Brooklyn, New York 11201
                           (718) 855-3627




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